                                                                1                     9                     A       I
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                                                                22                     10                   B       J


                              UNITED STATES DISTRICT COURT     3                     11                     C   K
                                       Distrfot of South Dakota
                                 225 South Pierre -Street~ Room 413
                                    Pierre, South Dakota 57501

  ROBERTO A; LANGE
                                                               4                    12
                                                                                  Phone 605..945-4610
                                                                                                           D    L
                                                                                    Fax 605..945-4611
  United States District Judge
                                                                     :rQberto_la~ge@sdd.uscourts.goy

                                                               5                                                M
                                              . May 4, 2021                        13                      E

  John Kilgf!lfon
                                                                                                           F    N
  Chief of Staff to Director of United States Marshal Servic
                                                            e  6                    14
  john.kilgaUon@usdoj.goy

  Pear Mr. Kilgallon,
                                                              7                                                 O
          I write on behalfofthejudges oftheDistrlctofSouthDakota                    15
                                                                             regarding an issue.this Co'Urt
                                                                 Marshals in this District OnAptil 15.,    G
  ha$ with the COVID..19.vaccination. status .ofDeputy U.S,
                                                                   eller copied me on a letter that, among
  U.S. Marshal for theDisttlct of So-uthD;;ikotaDaniel C. Most
                                                                       not be providing their respective
  other things, stated "at this time, USMS . employees will
                                                                     the undedyit1g Memorandum dated
  vaccination status to the Court.,. A copy of the lett~r and
                                                              8
  M141;oh 25 from Judge Charles B. Kornmatm are attached for refere
                                                                           nce.    16                      H    P
                                                                                  eller and his chief deputy;
           I have a very good working relatiortship with U.S. Marshal Most administer justice and
  We have worked together over the past year about how
                                                                 most safely to
                                               mic.  I under stand   that theApril 15 letter contains what
  conduct court operations during the pande
                                                                      the U.S. Marshals S~c e, I further
  U.S. Marshal Mosteilertuiderstands as the national policy of
                                                                      U.S, Marshal does not know which
  understand· that, at least itf the District of South Dalfot~ the
  Deputy U.S. Marshals are a11d are not vaccinated, but believ
                                                                   es that 30% declined to be vaccinated
                                                                        enforcement t~ get vaccinated.
   ag"'lnst COVID-19*d~spi. te b~ving an early opportunity as law                                      ,




                                                                                s clear: "Irtquirirtg whether
            Guidance from the Administrative Office of U.S. C(?urtS make disability-related injury/,
   an employt'.ie h~ been vaccinated for COVID-19 is not
                                                                 a. .prohibited
                                                     bility and Acco     untability Act preventing us from
  There i$ n9thing in the Health Insurance Porta
                                                                       to know precisely who among our
   learning vaccination status of employees. Indeed, we need
   emplqyees remain llnvacclnated to mitigate their risk of
                                                                contracting the ,virqs and to control the
                                                                      bers of the public atid other federal
   risk they pose to others in the courthouse, including rne1n
   employees.
                                                                           COVID-19 vaccine is safe· and
            I expect that we all can agree on the followirtg: 1) the·
                                                                to become infected with COVJD.. 19 and
   effective; 2) peQple who are vaccinated are far less likely
                                                                      3) the vaccine is readUy available to
   become less ill if infected than those who. are unvaccinated;             oom is one where everyone is
   all D.epu ty U.S. Marshals and court employees; 4} th~ safest courtr
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                                                                       ne who works in the courtroom
  fully' vaccinated; 5) a report- of a COVID-19 positive from someo
                                                                       g ofcriminal hearings and cases;
  at a minimum dismpts scheduling and working through the backlo
                                                                              as well as perfonning our
  6) yte in management have a dual r~onsibility of safety of employees      of an employee is important
  jobs to serve the intel'ests ofjustice; 7) knowing the vaccination status
                                                                         at greatest tlsk to contract and
  to formulating and, taking pr~cautions, as well as knowing who is
                                                                           so-called herd immunity and
  spread the virus; 8) getting people vaccinated is critical in achieving
                                                                          Service have a shared interest
   ending this pandemic; and 9) the District Court and U.S. Marshals
   in assuring:the safety of the courtt·ootn and courthouse.
                                                                                      ers and courtrooms
           With these interests in mind, this CoU1t likely will debar from chamb            a abo want to
                                                                 t judges in  South  Dakot
  all its employees who refuse to be vaccinated. The     distric
                                                                                  l  realize  that policies
                                                             the   courtrooms.
  avoid having unvaccinated Deputy U.S. Marshals in                            if the  policy  of the U.S.
                                                              wante  d to see
  concerning covm..;19 change flS w~ leam more. sol                                know   wheth  er it is the
                                                                    would  like to
  Marshals Service remains as U.S. Marshal Mosteller put it. I                    al$ are unvao  cinate d. I
                                                                          Marsh
  policy of the U.S. Marshals Service not to know what Deputy U.S.                  cinated deputi es  wotk
  also wou!d like to know if the tr.S ~ Marshals Service intends to have. believe other districts are
                                                                             unvac
                                                                            to
  inside courtrooms where judges 1·equire.all to be vaccinated. I have achieve what I believe to
                                                                          d to
  raising similar concerns. I look forward to finding common groun
  be a shared goal.       .
                                                           Best RegarQs,

                                                            ~a~
                                                           Roberto A. Lange
                                                           Chief Judge

   cc:     Danjel C. Mosteller, U.S. Mar$hal
           Stephen Houghtaling. Deputy U.S. Marshal
           Judge Karen E. Schr~er
           Judge Jeffrey L. Viken
           Judge Lawrenc(} L. Piersol
           Judge Charles B. Kornmann
           Matthew Thelen, Clerk of Court
           Denni~ Holmes, Acting U.S. Attorney
           Jason Tupman, Federal Public Defender
